Label Matrix for local noticing          Amy Ackroyd                                   American Express
1084-1                                   TAL Realty                                    PO Box 297879
Case 18-11852-t7                         1122 Central Ave. SW, Suite 5                 Fort Lauderdale, FL 33329-7879
District of New Mexico                   Albuquerque, NM 87102-2947
Albuquerque
Wed Nov 21 11:41:24 MST 2018
American Express                         American Express National Bank                Amex
PO Box 981535                            c/o Becket and Lee LLP                        Correspondence/Bankruptcy
El Paso, TX 79998-1535                   PO Box 3001                                   Po Box 981540
                                         Malvern PA 19355-0701                         El Paso, TX 79998-1540


At&T Universal Citi Card                 (p)BANK OF AMERICA                            Bank of America, N.A.
Po Box 6500                              PO BOX 982238                                 P O Box 982284
Sioux Falls, SD 57117-6500               EL PASO TX 79998-2238                         El Paso, TX 79998-2284



Dorothy Marie Byrd                       Citibank/Sears                                (p)DISCOVER FINANCIAL SERVICES LLC
10516 Towner Ave NE                      Centralized Bankruptcy                        PO BOX 3025
Albuquerque, NM 87112-3063               Po Box 790034                                 NEW ALBANY OH 43054-3025
                                         St Louis, MO 63179-0034


Discover Bank                            Discover Financial                            Equifax
Discover Products Inc                    Po Box 3025                                   PO Box 740241
PO Box 3025                              New Albany, OH 43054-3025                     Atlanta, GA 30374-0241
New Albany, OH 43054-3025


Experian                                 Daniel Grunow                                 Internal Revenue Service
PO Box 2002                              McCarthy & Holthus, LLP                       Bankruptcy Notice
Allen, TX 75013-2002                     6501 Eagle Rock NE, Suite A-3                 PO Box 7346
                                         Albuquerque, NM 87113-2478                    Philadelphia, PA 19101-7346


Medicredit Inc.                          Philip J Montoya                              Philip J. Montoya
Po Box 1629                              1122 Central Ave SW Ste #3                    Trustee
Maryland Heights, MO 63043-0629          Albuquerque, NM 87102-2947                    1122 Central Ave SW Ste #3
                                                                                       Albuquerque, NM 87102-2947


Mr. Cooper                               Mr. Cooper                                    Mr. Cooper
Attn: Bankruptcy                         PO Box 619094                                 PO Box 619098
8950 Cypress Waters Blvd                 Dallas, TX 75261-9094                         Dallas, TX 75261-9098
Coppell, TX 75019-4620


NM Dept of Workforce Solutions           NM Taxation & Revenue Department              New Mexico Taxation & Revenue Department
Attn: Legal Section                      Bankruptcy/Support                            PO Box 8575
P.O. Box 1928                            P.O. Box 8575                                 Albuquerque, NM 87198-8575
Albuquerque, NM 87103-1928               Albuquerque, NM 87198-8575


Sears Credit Cards                       TransUnion LLC                                United States Trustee
PO Box 6282                              Attn: Public Records Dept.                    PO Box 608
Sioux Falls, SD 57117-6282               PO Box 2000                                   Albuquerque, NM 87103-0608
                                         Chester, PA 19016-2000
                Case 18-11852-t7   Doc 37-1    Filed 11/21/18         Entered 11/21/18 12:31:48 Page 1 of 2
WELLS FARGO BANK, N.A.                                P. Diane Webb                                        Wells Fargo
PO BOX 10438                                          PO Box 30456                                         PO Box 10335
DES MOINES, IA 50306-0438                             Albuquerque, NM 87190-0456                           Des Moines, IA 50306-0335



Wells Fargo                                           (p)WELLS FARGO BANK NA                               Wells Fargo Bank
PO Box 10347                                          1 HOME CAMPUS                                        Po Box 31557
Des Moines, IA 50306-0347                             MAC X2303-01A                                        Billings, MT 59107-1557
                                                      DES MOINES IA 50328-0001


Wells Fargo Bank N.A.                                 Wells Fargo Bank, N.A.                               Wells Fargo Bank, N.A., Wells Fargo Card Ser
PO Box 522                                            PO Box 10438, MAC F8235-02F                          PO Box 10438, MAC F8235-02F
Des Moines, IA 50306-0522                             Des Moines, IA 50306-0438                            Des Moines, IA 50306-0438



Wells Fargo Home Equity
1000 Blue Gentian Road Ste 300
MAC X9999-01N
Saint Paul, MN 55121-1786




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank Of America                                       (d)Bank of America                                   Discover
Attn: Bankruptcy                                      PO Box 982234                                        PO Box 30943
Po Box 982238                                         El Paso, TX 79998-2234                               Salt Lake City, UT 84130
El Paso, TX 79998


Wells Fargo Bank
Attn: Bankruptcy Dept
Po Box 6429
Greenville, SC 29606




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Nationstar Mortgage LLC d/b/a Mr. Cooper           (u)Wells Fargo Bank, N.A.                            End of Label Matrix
                                                                                                           Mailable recipients    39
                                                                                                           Bypassed recipients     2
                                                                                                           Total                  41




                Case 18-11852-t7              Doc 37-1      Filed 11/21/18          Entered 11/21/18 12:31:48 Page 2 of 2
